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                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                             FORT SMITH DIVISION

UNITED STATES OF AMERICA                                      PLAINTIFF/RESPONDENT

v.                               No. 2:03-CR-20039-001

NHAN VAN NGUYEN                                              DEFENDANT/PETITIONER

                                     JUDGMENT

     Pursuant to the opinion and order entered in this case on this date, IT IS CONSIDERED,

ORDERED, and ADJUDGED that this matter is DISMISSED WITH PREJUDICE.

     IT IS SO ADJUDGED this 1st day of February, 2017.


                                                       /s/P. K. Holmes, III
                                                       P.K. HOLMES, III
                                                       CHIEF U.S. DISTRICT JUDGE
